






Opinion issued November 29, 2007










In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00704-CV






CAROLYN MINYARD,  Appellant


V.


MRS STAFFING, INC., MRS INDUSTRIAL, INC., WILLIAM (BILL)
WALTERS AND STELLA WALTERS,  Appellees






On Appeal from the 151st DistrictCourt

Harris County, Texas

Trial Court Cause No. 2003-066087






MEMORANDUM OPINION	Appellant  has neither established indigence, nor paid all the required fees.  See
Tex. R. App. P. 5 (requiring payment of fees in civil cases unless indigent), 20.1
(listing requirements for establishing indigence); see also Tex. Gov't Code Ann. §§
51.207, 51.941(a), 101.041 (Vernon 2006) (listing fees in court of appeals); Fees Civ.
Cases B(1), (3) (listing fees in court of appeals).  After being notified that this appeal
was subject to dismissal, appellant Carolyn Minyard did not adequately respond.  See
Tex. R. App. P. 5 (allowing enforcement of rule); 42.3(c) (allowing involuntary
dismissal of case).

	The appeal is dismissed for nonpayment of all required fees.  All pending
motions are denied.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Alcala and Bland.


